              DISTRICT COURT OF APPEAL OF FLORIDA
                        SECOND DISTRICT


                              SCOTT GLASZ,

                                 Appellant

                                      v.

                           STATE OF FLORIDA,

                                  Appellee.

                             No. 2D2023-1006


                              August 23, 2024

Appeal from the Circuit Court for Sarasota County; Donna Padar, Judge.

Howard L. Dimmig, II, Public Defender, and Richard P. Albertine, Jr.,
Assistant Public Defender, Bartow, for Appellant.

Ashley Moody, Attorney General, Tallahassee, and Alicia M. Winterkorn,
Assistant Attorney General, Tampa, for Appellee.

PER CURIAM.

            Affirmed.

NORTHCUTT, VILLANTI, and SMITH, JJ., Concur.


Opinion subject to revision prior to official publication.
